DC 11Case    1:18-cv-24190-RS
      (Rev. 11/2002) Writ of Execution     Document 516-1 Entered on FLSD Docket 07/10/2023 Page 1 of 1

                                                     WRIT OF EXECUTION
                                                                           DISTRICT
        U NITED S TATES D ISTRICT C OURT                                                      Southern District of Florida
TO THE MARSHAL OF:
                         United States District Court for the Southern District of Florida

YOU ARE HEREBY COMMANDED, that of the goods and chattels, lands and tenements in your district belonging to:
NAME

  Joe Carollo




you cause to be made and levied as well a certain debt of:
DOLLAR AMOUNT                                                              DOLLAR AMOUNT


    $34,300,000.00                                                   and     $29,200,000.00




in the United States District Court for the Southern                    District of Florida                                  ,
before the Judge of the said Court by the consideration of the same Judge lately recovered against the said,

   Joe Carollo
   USDC for the Southern District of Florida Case no.1:18-cv-24190



and also the costs that may accrue under this writ.
        And that you have above listed moneys at the place and date listed below; and that you bring this writ with you.

PLACE                                                                      DISTRICT
          U.S. Marshal's Office                                                         Southern District of Florida
CITY                                                                       DATE
         Miami, Florida

 Witness the Honorable
                                                                            (United States Judge)

DATE                                     CLERK OF COURT



                                         (BY) DEPUTY CLERK




                                                                 RETURN
DATE RECEIVED                                                              DATE OF EXECUTION OF WRIT




This writ was received and executed.
U.S. MARSHAL                                                               (BY) DEPUTY MARSHAL




                                                             Print                        Reset Form
